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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

_________________________________________
                                                               )
In re:                                                         )   Chapter 11
                                                               )
NUMBERS HOLDINGS, INC. et al.,1                                )   Case No. 24-10719 (JKS)
                                                               )
                                                               )   (Jointly Administered)
                           Debtors.                            )
                                                               ) Re: Docket Nos. 344 and 483
___________________________________                            ) Objection deadline: May 14, 2024


       OBJECTION BY GORDEAN FAMILY PROPERTY MANAGEMENT, LLC
    TO NOTICE OF POTENTIAL ASSUMPTION OF EXECUTORY CONTRACTS OR
             UNEXPIRED LEASES AND PROPOSED CURE AMOUNT
               AND DECLARATION OF RUTH GORDEAN JANKA

         Gordean Family Property Management, LLC (“GFPM”), through its undersigned counsel,

hereby files and serves its objection to the proposed cure amount with respect to an unexpired lease

in this matter between Debtor 99 Cents Only Stores, LLC, (“Debtor”) as Tenant and GFPM as

Landlord.

         On May 2, 2024, Debtor filed its Notice of Potential Assumption of Executory Contracts

or Unexpired Leases and Cure Amounts (the “Cure Notice”) as Doc. 344. The GFPM Lease is

listed at Item # 96 on Schedule 1 attached to the Cure Notice. The Cure Amount is listed as

$25,630.83. This amount is incorrect and GFPM hereby objects thereto. The correct cure amount

at this time is $45,114.94 as set forth in the attached Declaration of Ruth Gordean Janka.




1
 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: (i) Number Holdings, Inc. (1463); (ii) 99 Cents Only Stores LLC (1605); (iii) 99 Cents
Only Stores Texas, Inc. (1229); (iv) 99 Cents PropCo LLC (7843); (v) 99 Cents HoldCo LLC (3987); and (vi)
Bargain Wholesale LLC (8030). The Debtors’ principal offices are located at 1730 Flight Way, Suite 100, Tustin,
CA 92782.
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       Accordingly, the current Cure Amount is $45,114.94.         GFPM reserves the right to

supplement this Cure Amount with any additional amounts which may become due and unpaid

under the GFPM Lease hereafter.

       In addition to its objection to the Cure Amount, GFPM notes that the identity of a proposed

assignee of the GFPM Lease has not yet been provided nor has any adequate assurance of future

performance of the obligations of the GFPM Lease been provided to GFPM. GRPM therefore

reserves its right to object to the assumption and assignment of the Lease for any additional

reasons.

       GFPM respectfully requests that the Court prohibit the assumption of the GFPM Lease

unless and until Debtor amends the Draft Schedule to correct the Cure Amount for the GFPM

Lease as specified herein and pays the correct Cure Amount to GFPM.

Date: May 14, 2024                   Respectfully submitted,

                                     /s/ Todd C. Ringstad
                                     Todd C. Ringstad, Esq. (Cal Bar 97456)
                                     RINGSTAD & SANDERS LLP
                                     4910 Birch Street. Suite 120
                                     Newport Beach, California 92660
                                     Telephone: 949-851-7450
                                     Email: todd@ringstadlaw.com
                                     Attorney for Gordean Family Property Management, LLC
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                       Exhibit "1"
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                               CERTIFICATE OF SERVICE

       I, Todd C. Ringstad, Esq., hereby certify that on May 14, 2024, I served or caused to be

served a correct copy of the foregoing by the Court’s CM/ECF system on all counsel of record

registered in this case through CM/ECF and by separate email upon the following:

       (1) Proposed co-counsel to the Debtors, (1) Milbank LLP, 55 Hudson Yards, New

York, NY 10001, Attn: Dennis F. Dunne (ddunne@milbank.com); Michael W. Price

(mprice@milbank.com); Lauren C. Doyle (ldoyle@milbank.com); Brian Kinney

(bkinney@milbank.com); and James A. McIntyre (jmcintyre@milbank.com), and (2) Morris,

Nichols, Arsht & Tunnell LLP, 1201 N. Market Street, 16th Floor, P.O. Box 1347, Wilmington,

Delaware 19899-1347, Attn: Robert J. Dehney, Sr. (rdehney@morrisnichols.com); Matthew O.

Talmo (mtalmo@morrisnichols.com), and Jonathan M. Weyand (jweyand@morrisnichols.com);

       (2) Counsel to any Stalking Horse Bidder, (iii) the U.S. Trustee, 844 King Street, Suite

2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Rosa Sierra-

Fox (rosa.sierra-fox@usdoj.gov); (iv) counsel to any Committee; and (v) counsel to the DIP

Agent, Proskauer Rose LLP, 11 Times Square, New York, NY 10036, Attn: David M. Hillman

(dhillman@proskauer.com) and Megan R. Volin (mvolin@proskauer.com).

                                     RINGSTAD & SANDERS LLP

                                      /s/ Todd C. Ringstad
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                                     Email: todd@ringstadlaw.com
                                     Attorney for Gordean Family Property Management LLC



Dated: May 14, 2024
